       Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 1 of 10



                                                              F•LEO        .
                                                      W!. atSTRICT COIJ~1 ~
                                                    £ASTERN 01srn1cr :i1· ~r,.. ,   'I.I
                                                       20\9 MAY 15 P \:    -UVS'6
                                                      WlLUAM W. BLEVIH~
                                                           CLE Rt\


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

                  BILL OF INFORMATION FOR CONSPIRACY TO
                                                                                     FELONY
                COMMIT BANK FRAUD AND NOTICE OF FORFEITURE


UNITED STATES OF AMERICA                      *       CRIMINAL D O C ~ -                   0 0090
               v.                             *       SECTION:        SECT. I MAG.1
KENNETH CHARITY                               *       VIOLATION: 18 U.S.C. § 1349

                                              *
                                      *       *       *

       The First Assistant United States Attorney, Michael M. Simpson, as the Attorney for the

United States, acting on the authority conferred by Title 28, United States Code, Section 515,

(hereinafter, "the Attorney for the United States") charges that:

                       COUNT 1 - Conspiracy to Commit Bank Fraud

A.     AT ALL MATERIAL TIMES HEREIN:

       1.      First NBC Bank was a financial institution, as defined in Title 18, United States

Code, Section 20, and a member of the Federal Deposit Insurance Corporation ("FDIC") with

federally insured deposit accounts.




                                                                           -t)Fee \k:.S-lr
                                                                           XPl'OceN _ _ __
                                                                           _ Dktlf_____
                                                                           _    CtfltmDap.____
                                                                           _    Doc.No. _ _ __
       Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 2 of 10




        2.     First NBC Bank was established in or about 2006, with its headquarters in New

Orleans, Louisiana, which was within the Eastern District of Louisiana. At various times First

NBC Bank maintained branch offices in Louisiana, Mississippi, and Florida.

       3.      First NBC Bank was the wholly-owned subsidiary of First NBC Bank Holding

Company. Bank President A was a founder of First NBC Bank and acted as its president and Chief

Executive Officer from in or around May 2006, until in or around December 2016.

       4.      In or around May 2013, First NBC Bank Holding Company became a publicly-

traded company listed on the NASDAQ.

       5.      On or about April 28, 2017, First NBC Bank was closed by the Louisiana Office of

Financial Institutions. The FDIC was named Receiver.

       6.      From in or around February 2007 through in or around April 2017, the defendant,

KENNETH CHARITY ("CHARITY"), had a banking relationship with First NBC Bank,

individually and through certain entities.

       7.      Nominee D was a physician and friend of CHARITY's who lived and practiced

medicine in the Washington, D.C. suburbs. Nominee D was not CHARITY's sister by blood,

marriage, or adoption.

       8.      Nominee D was the sole member of MO78255, a limited liability company,

registered with the Louisiana Secretary of State, and domiciled in Mandeville, LA.

       9.      CHARITY was the sole member of the limited liability companies DMK Group

Three, DMK Group Five, 190W1515, DMK Acquisitions & Properties, and 21Wl04, and had

power of attorney to act on behalf ofMO78255 (collectively "the Entities").



                                               2
       Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 3 of 10




        10.    Nominee D was not a signatory on any of the accounts held by CHARITY or the

Entities at First NBC Bank.

        1 I.   From in or around February 2007 through in or around September 2016, Bank

President A acted as CHARITY' s loan officer and the loan officer to the Entities.

        12.    The defendant, CHARITY, had an obligation to provide accurate personal

financial statements and collateral summaries prior to any advances, renewals, or increases in loans

extended to him or the Entities.

        13.    When CHARITY submitted financial statements to First NBC Bank on his own

behalf or on behalf of the Entities, he and others, including, Bank President A, caused these

supporting documents to be placed into First NBC Bank's records.

        14.    By the time First NBC Bank failed in late April 2017, the balances on the loans

issued to CHARITY and the Entities totaled more than $18 million.

B.     CONSPIRACY TO COMMIT BANK FRAUD:

       Beginning at a time unknown to the Attorney for the United States, but at least in or around

2006, through in and around April 2017, in the Eastern District of Louisiana and elsewhere, the

defendant, KENNETH CHARITY, and others known and unknown to the Attorney for the

United States, did knowingly and willfully combine, conspire, confederate, and agree to commit

offenses against the United States of America, that is: to knowingly and with intent to defraud,

execute and attempt to execute a scheme and artifice to defraud First NBC Bank, a financial

institution, and to obtain any of the moneys, funds, credits, and assets, owned by, and under the

custody or control of First NBC Bank, by means of false and fraudulent pretenses, representations,

and promises, relating to a material fact, in violation of Title 18, United States Code, Section 1344.


                                                  3
         Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 4 of 10




C.       THE PURPOSE OF THE CONSPIRACY:

         The purpose of the conspiracy was for the defendant, CHARITY, Bank President A, and

others to unjustly enrich themselves by disguising the true financial status of CHARITY and the

Entities, concealing the accurate performance, and misrepresenting the purpose of the loans made

to CHARITY and the Entities.

D.       MANNER AND MEANS OF THE CONSPIRACY:

         The manner and means by which the defendant, CHARITY, and Bank President A, and

others sought to accomplish the purpose of the conspiracy included the following:

         False Personal Financial Statements

         1.     The defendant, CHARITY, Bank President A, and others provided First NBC

Bank with materially false and fraudulent personal financial statements, which, among other

things, overstated the value of CHARITY's assets, understated his liabilities, and omitted

material information. In truth and in fact, no such trust existed.

         2.     For example, personal financial statements signed by CHARITY in 2010, 2011,

and 2012, falsely claimed that CHARITY had assets from his father's trust in the amount of

$350,000.

         3.     A personal financial statement signed by CHARITY in 2010 and 2011 falsely

listed that CHARITY and the Entities were entitled to millions of dollars from a government

program. In truth and in fact, these were only projections of possible grant proceeds that never

materialized.

         4.     Schedules appended to the personal financial statements in 2010, 2011 and 2012

falsely included income from rental properties on residential units that had never been rented.

Both Bank President A and CHARITY were aware that these rental income schedules were

false.
                                                  4
       Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 5 of 10




       5.      Bank President A advised CHARITY on how to complete the personal financial

statements, suggesting he include assets that both CHARITY and Bank President A knew were

false and overstated.

       6.      The materially false and fraudulent personal financial statements, collateral

summaries, and other documents disguised CHARITY' s true financial condition.

       Loan Masking

       7.      Bank President A and others disguised CHARITY' s true financial condition by,

among other things, issuing new loans to CHARITY and the Entities, which would pay older

loans that CHARITY was otherwise unable to repay. The new loans would then appear to be

current and performing, while the old loans appeared to have been paid. In reality, CHARITY

had insufficient income and cash flow to support his debt at First NBC Bank. Bank President A

was well-aware that CHARITY was unable to repay his loans, yet Bank President A continued

to falsely represent in bank records that CHARITY and his Entities were profitable.

       False Statements About Loan Purpose

       8.      An additional manner and means of carrying out the conspiracy was that

CHARITY, Bank President A, and others repeatedly lied in bank loan documents about the

purpose of loans that Bank President A approved for CHARITY and the Entities.

               a.       Decatur Street Canopy

       9.      In or around July 2008, CHARITY, through one of the Entities, DMK Group

Three LLC, purchased the commercial property located at 620 Decatur Street in the French

Quarter using loan proceeds from First NBC Bank. Nominee D was listed as a guarantor on the

loan. From on or about March 30, 2012 through on or about April 31, 2017, a beignet shop

leased the space from CHARITY and his Entity.

       10.     In August of 2014, Bank President A approved a loan increase of approximately

                                                5
       Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 6 of 10




$980,000 for CHARITY and Nominee D to enclose the outdoor patio at the beignet shop and

improve gas stations owned by certain of the entities. CHARITY signed a disbursement sheet

stating that the purpose of the loan was to finance renovations to 620 Decatur Street and three

gas stations. In truth and in fact, Bank President A applied a significant portion of the loan

proceeds to cover CHARITY's overdrafts, which included personal expenses.

        11.    In or around December 2015, Bank President A approved a second loan for

CHARITY for $500,000, falsely stating the proceeds would be used to enclose the outdoor

patio at 620 Decatur Street and improve three gas stations. Nominee D was a guarantor on the

loan. CHARITY signed a disbursement sheet stating that he would use the loan proceeds to

finance the renovations to 620 Decatur and three gas stations. In truth and in fact, Bank President

A applied the loan proceeds to cover CHARITY' s overdrafts, which included personal

expenses.

        12.    In or around August 31, 2016, Bank President A approved a third loan increase

for $500,000 to enclose the outdoor patio at 620 Decatur Street. CHARITY signed a

disbursement sheet stating that he would use the loan proceeds to enclose the patio. In truth and

in fact, Bank President A applied the loan proceeds to cover CHARITY' s loan payments and

overdrafts, which included personal expenses. Specifically, between August 31, 2016, and

December 8, 2016, there were approximately 4 7 disbursements into CHARITY' s account

ending in 2440, totaling roughly $476,555.27.

               b.      Lake Terrace Shopping Center

       13.     In or around 2007, CHARITY, through one of the Entities, purchased the Lake

Terrace Shopping Center in New Orleans East using loan proceeds from First NBC Bank.

CHARITY sold the shopping center to a developer in February of 2016.

       14.     During the time that CHARITY owned the shopping center, CHARITY and

                                                  6
       Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 7 of 10




Bank President A represented to First NBC Bank that CHARITY needed additional loan

proceeds to develop the property. Also during this time, CHARITY and Bank President A

represented to First NBC Bank and others that development of the shopping center was about

to begin or that it would soon be completed.

        15.    Contrary to these representations, the shopping center was never developed and

was cited for blight in 2012. As late as December 2015, Bank President A falsely and

fraudulently represented to an auditor that the shopping center was under construction or close

to being finished. When CHARITY sold the shopping center in February 2016, it was in such

a state of disrepair that the City of New Orleans included as a condition of the sale that the new

owner demolish the property within 60 days of the purchase.

       16.     Loan proceeds that were supposed to go toward development of the shopping

center went into an account controlled by CHARITY. CHARITY spent money from this

account on, among other things, service of his swimming pool and attorney's fees.

       Nominee Loans
       17.     Yet another means by which Bank President A, CHARITY, and others

concealed the true financial condition of CHARITY's loans was by using Nominee Das a

guarantor on some of CHARITY' s and the Entities' loans. CHARITY, Bank President A, and

others fraudulently characterized Nominee Das CHARITY's sister and often disbursed loan

proceeds falsely representing that Nominee D was willing to guarantee or be the primary

borrower on the loan. In truth and in fact, Nominee D was unaware of the true purpose of the

loans, many of which were disbursed prior to her signing any loan documentation. Further, she

was unaware that the loan proceeds were used to finance CHARITY' s personal spending habits

and make loan payments.



                                                 7
       Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 8 of 10




        All in violation of Title 18, United States Code, Section 1349.

                                    BANK FRAUD FORFEITURE

        1.      The allegations contained in Count 1 of this Bill oflnfonnation are hereby realleged

and incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18, United

States Code, Section 982(a)(2)(A).

        2.      Upon conviction of the offense in violation of Title 18, United States Code, Section

1349 set forth in Count 1 of this Bill of Information, the defendant, KENNETH CHARITY, shall

forfeit to the United States of America, pursuant to Title 18, United States Code, Section

982(a)(2)(A), any property constituting, or derived from, proceeds obtained, directly or indirectly,

as a result of such violation(s).

        3.      If any of the property described above, as a result of any act or omission

of the defendant:

                a.      cannot be located upon the exercise of due diligence;

                b.      has been transferred or sold to, or deposited with, a third party;

                c.      has been placed beyond the jurisdiction of the court;

                d.      has been substantially diminished in value; or

                e.      has been commingled with other property which cannot be divided without
                        difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section

982(b)(1) and Title 28, United States Code, Section 2461 (c).




                                                  8
      Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 9 of 10




       All pursuant to 18 U.S.C. § 982(a)(2)(A) and 28 U.S.C. § 246l(c).


                                                  MICHAEL M. SIMPSON
                                                  Attorney for the United States
                                                  Acting under authority conferred
                                                  by 28 S.C. § 515




                                                  Assistant United States Attorney

New Orleans, Louisiana
May 15, 2019




                                              9
Case 2:19-cr-00090-LMA-JVM Document 1 Filed 05/15/19 Page 10 of 10
